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IN THE UNITED sTATEs DIsTRICT CoURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 AUG 25 PH 3= 15

wESTERN DIVISION
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CoMMoDITY FUTURES TRADING ) CLEHK U§. lit$?sct away
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)
Plainciff, )
)
v. ) No. 04-2131 D/An
)
FXTRADE FINANCIAL, LLC, et al., )
)
Defendants. )

 

REPORT AND RECOMMENDATION

 

Before the Court is Plaintift`s Motion to Impose Discovery Sanctions Against Defendant
Jeffrey Mischler (“Mischler”) filed on June 30, 2005. United States District Judge Bernice B.
Donald referred this matter to the Magistrate Judge for a report and recommendation F or the
reasons set forth below, the Court recommends that Mischler’s Answer be stricken, that default
judgment be entered against Mischler, and that Mischler be required to pay reasonable expenses
to Plaintiff.

BACKGR()UND

Plaintiff Commoclity Futures Trading Commission (“Plaintiff”) filed this action against
multiple Defendants seeking injunctive rclief. Plaintiff alleges that Defendants engaged in fraud
and misappropriated customer funds in connection With the solicitation of futures contracts
Beginning in November 2004, the Court handled its first disciplinary matter in this case When

Judge Donald entered an Order to Show Cause after the Defendants failed to comply With a

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Statutory Restraining Order entered by the Court on March 17, 2004. Judge Donald did not
impose sanctions at the Court’s December 3, 2004 hearing against the Defendants. The Court
has also had to deal with numerous motions to compel filed by Plaintiff against the Defendants in
this case. 0verall, Plaintiff has filed six motions to compel against multiple Defendants in this
action, and Plaintiff has filed numerous motions for sanctions

This specific motion deals only with Defendant Jeffrey Mischler. On February 18, 2005,
Plaintiff filed a Motion to Compel against Mischler. Mischler received two extensions of time to
respond to the Motion to Compel, but after failing to timely respond, the Court granted the
Motion to Compel against Mischler on May l'/', 2005 . In its May 17, 2005 Order, the Court
warned Mischler “that the failure to comply with an Order of the Court can be grounds for the
imposition of sanctions.” Therefore, although his responses were due by June l, 2005, Mischler
has still failed to provide any additional documents to Plaintiff, as required by the May 17, 2005
Order. In the instant Motion, Plaintiff also informs the Court that Mischler has not provided
Plaintiff with many of the documents that he said he would provide in his initial discovery
responses These documents include income tax returns and telephone records.

Although a response to the instant motion was due no later than July 20, 2005, Mischler
did not file a timely response as required by Local Rule 7.2(a)(2). “Failure to timely respond to
any motion, other than one requesting dismissal of a claim or action, may be deemed good
grounds for granting the motion.” Local Rule 7.2(a)(2).

ANALYSIS
The Court has both express power, under Federal Rule of Civil Procedure 37, and

inherent power to impose sanctions for bad faith conduct during discovery. See Fed. R. Civ. P.

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37; Chambers v. NASCO, 501 U.S. 32 (1991); Roadway Express, Inc. v. Piper, 447 U.S. 752
(1980). Rule 37 provides two frameworks for the imposition of sanctions First, under
subsections (a) and (b), a party may move for an order to compel discovery. If that motion is
granted and a party refuses or fails to comply with the Court’s Order, the Court may issue a wide
range of sanctions under Rule 37(b), including dismissal of the lawsuit Second, subsection (d)
provides for a less common scenario when sanctions may be imposed even though no prior court
order has been issued. The Court may enter an order for sanctions under Rule 37(d), for
example, if a party fails to attend a deposition or respond to discovery requestsl Rule 37(d) also
allows the Court to award attorneys’ fees and expenses

The Court may also impose sanctions based on its inherent authority. A court’s inherent
power “is governed not by rule or statute but by the control necessarily vested in courts to
manage their own affairs so as to achieve the orderly and expeditious disposition of cases.” Link
v. Wabash R. Co., 370 U.S. 626, 630-31 (1962); see also Roadway Express, Inc. v. Piper, 447
U.S. 752, 765 (1980). This inherent power includes the Court’s “power to control and supervise
its own proceedings.” Smith v. Northwest Fin. Acceptance, Inc., 129 F.3d 1408, 1419 (lOth Cir.
1997).

The decision to impose sanctions lies within the sound discretion of the trial court. See
Dz'llon v. Nz'ssan Moror Co., 986 F.2d 263, 268 (Sth Cir. 1993). Sanctions are “not merely to
penalize those whose conduct may be deemed to warrant such a sanction, but to deter those who
might be tempted to such conduct in the absence of such a deterrent.” Hockey Lea_gue v.

Metropolz'tan Hockey Club, lnc., 427 U.S. 639, 643 (1976). “[T]he applicable sanction should be

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molded to serve the prophylactic, punitive, and remedial rationales underlying the spoliation
doctrine.” West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999).

Dismissal of an action is warranted if the wrongdoing party has committed “flagrant bad
faith.” Jackson v. Nissan Motor Corp., 121 F.R.D. 311, 319 (M.D. Tenn. 1988) (citing National
Hockey League v. Metropolitan Hockey Club, lnc. , 427 U.S. 639 (1976)). In the Sixth Circuit,
“[d]ismissal is the sanction of last resort. It should be imposed only if the court concludes that
the party’s failure to cooperate in discovery was willful, in bad faith, or due to its own fault.”
Beil v. Lakewood Engineering & Mfg. Co., 15 F.3d 546, 552 (6th Cir. 1994). The word “willful”
is defined in Black’s Dz'ctz'onary to mean “[v]oluntary and intentional, but not necessarily
malicious,” Black’s Dictionary 1593 (7th ed. 1999). The Sixth Circuit also directs that
reviewing courts determine if the adversary was prejudiced by a failure to cooperate in discovery,
whether a party was warned that the failure to cooperate could lead to sanctions, and whether less
drastic sanctions were first imposed or considered. See Freeland v. Amigo, 103 F.3d 1271, 1277
(6th Cir. 1997).

After a thorough review of the pleadings in this action and careful consideration, the
Court recommends that Mischler’s Answer should be stricken and default judgment should be
entered against Mischler. Although dismissal is a sanction of last resort in this Circuit, the Court
concludes that Mischler has received ample opportunity to comply with Orders of the Court and
cooperate in the discovery process. Mischler was first instructed by the Court to completely
respond to Plaintiff"s discovery requests by June l, 2005; however, as of today, Mischler has yet
to respond to Plaintiff. Furthermore, as documented by Plaintiff, Mischler has yet to provide

documents that he said he would provide when he first responded to Plaintiff` s discovery

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requests Mischler has not responded to any telephone call, letter, e-mail, pleading, or Order of
the Court since April 4, 2005, and Plaintiff notes that it “has not heard from Mischler or any
attorney acting on his behalf” since April 7, 2005 . (Mot. for Sanctions, at 3).

The Court concludes that Mischler’s conduct is in bad faith, and that he is intentionally
failing to cooperate in the discovery process Mischler ignored the Court’s April 25, 2005
deadline to notify the Court of his new counsel; he ignored the Court’s deadline for him to
respond to a motion to compel; he ignored the June 1, 2005 deadline to completely respond to the
Plaintiff`s discovery requests; he has ignored his promise to provide documents to the Plaintiff;
and he has ignored requests from the Plaintiff to respond to telephone calls, letters and e-mails.

After analyzing the remaining three factors discussed in Freeland, the Court concludes
that dismissal of this action against Mischler is appropriate By not being able to timely proceed
with this lawsuit, Plaintiff has been prejudiced Plaintiff has spent countless hours attempting to
locate discovery materials and filing motions to compel and motions for sanctions with the
Court. Plaintiff cannot begin its depositions of factual or expert witnesses, and Plaintiff cannot
compose supplemental discovery requests until Mischler provides complete discovery responses

The Court has warned Mischler that the failure to comply with Orders of the Court could
lead to discovery sanctions Moreover, lesser sanctions have been imposed against Mischler
twice before, yet Mischler still continues to ignore Court Orders, refuse to respond to discovery
requests, and delay these proceedings Therefore, the Court concludes no other sanction can
persuade Mischler to actively participate in this lawsuit.

Because of his repeated failure to cooperate in the discovery process and his bad faith

conduct, the Court recommends that Mischlcr’s Answer be stricken. The Court also

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recommends that default judgment should be entered against Mischler, and that Mischler should
be required to pay reasonable fees to Plaintiff’ s counsel for its work in preparing the initial
Motion to Compel and the instant Motion for Sanctions.l

ANY OBJ'ECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: %U§;¢{' c?~\,/_ 2001/

 

l If Judge Donald adopts this report and recommendation in full, Plaintiff"s counsel shall
supply an affidavit to the Court within 20 days of entry of such an Order adopting this report and
recommendation. In the affidavit, Plaintiff’s counsel shall list the fees and expenses, including
attorney’s fees, incurred in the preparation of the February 18, 2005 Motion to Compel and the
instant Motion for Sanctions.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 141 in
case 2:04-CV-02181 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listcd.

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US DISTRICT COURT

